                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION


 CARRIE CONLEY, LOCKHART WEBB,
 and ELLA KROMM, individually and on
 behalf of all others similarly situated;
 GABRIELA ADLER-ESPINO; and THE
 LEAGUE OF WOMEN VOTERS OF
 NORTH CAROLINA,

                                Plaintiffs,

          v.                                      Case No. 5:25-cv-00193

 ALAN HIRSCH, JEFF CARMON, STACY                  NOTICE OF RELATED CASE
 “FOUR” EGGERS IV, KEVIN N. LEWIS,
 and SIOBHAN O’DUFFY MILLEN, in their
 official capacities as members of the North
 Carolina State Board of Elections; and
 KAREN BRINSON BELL, in her official
 capacity as Executive Director of the North
 Carolina State Board of Elections,

                                Defendants.


         Pursuant to Local Civil Rule 40.3(b), Plaintiffs Carrie Conley, Lockhart Webb, Ella

Kromm, Gabriela Adler-Espino, and the League of Women Voters of North Carolina (collectively,

“Plaintiffs”), hereby notify the Court that the above-captioned case is related to Griffin v. North

Carolina State Board of Elections, No. 5:24-cv-00731, which is currently pending before this

Court.

         The cases concern “substantially the same parties, transactions, or events”; “call for a

determination of the same or substantially related or similar questions of law and fact”; and pose

a likelihood of “an unduly burdensome duplication of labor and expense or conflicting results.”

Local Civil Rule 40.3(a). Both cases name the North Carolina State Board of Elections (or




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members thereof) as defendants. Both cases seek federal review of constitutional questions raised

by the Board’s implementation of the same order by the Supreme Court of North Carolina in

Griffin v. North Carolina State Board of Elections, No. 320P24-3 (N.C. Apr. 11, 2025). And both

cases allege violations of North Carolina voters’ rights under the Due Process and Equal Protection

Clauses of the Fourteenth Amendment to the U.S. Constitution.

       For the foregoing reasons, the Court should deem the cases related.



Dated: April 14, 2025                        Respectfully Submitted,

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